       Case 2:18-cv-05026-JAK-JPR Document 31 Filed 09/13/18 Page 1 of 1 Page ID #:377
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                      REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                  TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                    Central District of California                            on the following
         Trademarks or         ✔ Patents. (       the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
       2:18-cv-05026                        6/6/2018                                       Central District of California
PLAINTIFF                                                                  DEFENDANT


 BLUE SPIKE LLC                                                              ASPIRO AB


        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7159116B2                                1/2/2007                  Blue Spike LLC

2 8538011B2                                9/17/2013                 Blue Spike LLC

3 7813506B2                               10/12/2010                 Blue Spike LLC

4 8265276B2                                9/11/2012                 Blue Spike LLC

5 7664263B2                                2/16/2010                 Blue Spike LLC


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                     Amendment                    Answer            Cross Bill           Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


    Notice of Voluntary Dismissal


CLERK                                                      (BY) DEPUTY CLERK                                            DATE

    Kiry K. Gray                                             /s/Brent Pacillas                                          September 13, 2018
Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
